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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,
        Plaintiff,
                                                                Hon. Janet T. Neff
 v.
                                                                Case No. 1:16-cr-00037
 KISHA N. EVANS,
        Defendant.
 ________________________________/

                           REPORT AND RECOMMENDATION

       Pursuant to W.D. Mich. L.Cr.R. 11.1, I conducted a plea hearing in the captioned

case on November 14, 2016, after receiving the written consent of defendant and all

counsel. At the hearing, defendant Kisha N. Evans entered a plea of guilty to the

Indictment in exchange for the undertakings made by the government in the written plea

agreement. In the Indictment, defendant is charged with conspiracy to defraud the United

States through the filing of false claims in violation of 18 U.S.C. § 286. On the basis of

the record made at the hearing, I find that defendant is fully capable and competent to

enter an informed plea; that the plea is made knowingly and with full understanding of

each of the rights waived by defendant; that it is made voluntarily and free from any force,

threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea

has a sufficient basis in fact.

       I therefore recommend that defendant's plea of guilty to the Indictment be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement
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be considered for acceptance at the time of sentencing.           Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.


Date: November 14, 2016                                  /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         U.S. Magistrate Judge


       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure

to file objections within the specified time waives the right to appeal the District Court’s

order. Thomas v. Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947,

949-50 (6th Cir. 1981).




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